         Case 24-10560-VFP                       Doc 1     Filed 01/22/24 Entered 01/22/24 21:37:13                              Desc Main
                                                           Document     Page 1 of 26

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            District of New Jersey
                                          (State)                                                                                  ☐ Check if this is an
Case number (if known):                                       Chapter       11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                    06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Krazy Kat Sportswear LLC


                                                 Healing Hands
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                     Mailing address, if different from principal place
                                                                                                       of business
                                       25 E Union Avenue
                                       Number               Street                                     Number         Street

                                       Suite #100
                                                                                                       P.O. Box
                                       East Rutherford                     NJ        07073
                                          City                             State     Zip Code          City                         State     Zip Code


                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                       Bergen County
                                          County                                                       Number         Street




                                                                                                       City                         State     Zip Code




5. Debtor’s website (URL)                 https:// www.careismatic.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
         Case 24-10560-VFP                 Doc 1        Filed 01/22/24 Entered 01/22/24 21:37:13                                Desc Main
                                                        Document     Page 2 of 26
Debtor            Krazy Kat Sportswear LLC                                            Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            3159

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
         Case 24-10560-VFP                 Doc 1        Filed 01/22/24 Entered 01/22/24 21:37:13                                   Desc Main
                                                        Document     Page 3 of 26
Debtor           Krazy Kat Sportswear LLC                                             Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                         District      District of New Jersey
   List all cases. If more than 1,                                                                                  When            01/22/2024
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?
                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                         Number        Street



                                                                                         City                               State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☒       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
         Case 24-10560-VFP                 Doc 1       Filed 01/22/24 Entered 01/22/24 21:37:13                                    Desc Main
                                                       Document     Page 4 of 26
Debtor           Krazy Kat Sportswear LLC                                           Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         01/22/2024
                                                             MM/ DD / YYYY


                                             /s/ Kent Percy                                                     Kent Percy
                                             Signature of authorized representative of debtor                Printed name

                                             Title   Chief Restructuring Officer




18. Signature of attorney                    /s/ Michael D. Sirota                                          Date        01/22/2024
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Michael D. Sirota
                                             Printed name
                                             Cole Schotz P.C.
                                             Firm name
                                             Court Plaza North, 25 Main Street
                                             Number                 Street
                                             Hackensack                                                             NJ                07601
                                             City                                                                   State               ZIP Code

                                             (201) 489-3000                                                         msirota@coleschotz.com
                                             Contact phone                                                              Email address
                                             014321986                                           NJ
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
     Case 24-10560-VFP                  Doc 1       Filed 01/22/24 Entered 01/22/24 21:37:13           Desc Main
                                                    Document     Page 5 of 26



 Fill in this information to identify the case:
                                                                     ,
 United States Bankruptcy Court for the:
                           District of New Jersey
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                              Chapter   11                                       amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of New Jersey for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Careismatic Brands, LLC.

 Careismatic Brands, LLC
 AllHearts, LLC
 Careismatic Group II Inc.
 Careismatic Group Inc.
 Careismatic, LLC
 CBI Intermediate, Inc.
 CBI Midco, Inc.
 CBI Parent, L.P.
 Krazy Kat Sportswear LLC
 Marketplace Impact, LLC
 Med Couture, LLC
 Medelita, LLC
 New Trojan Parent, Inc.
 Pacoima Limited, LLC
 Silverts Adaptive, LLC
 Strategic Distribution, L.P.
 Strategic General Partners, LLC
 Strategic Partners Acquisition Corp.
 Strategic Partners Corp.
 Strategic Partners Midco, LLC
 Trojan Buyer, Inc.
 Trojan Holdco, Inc.
Case 24-10560-VFP              Doc 1   Filed 01/22/24 Entered 01/22/24 21:37:13                Desc Main
                                       Document     Page 6 of 26


                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEW JERSEY

                                                       )
    In re:                                             )    Chapter 11
                                                       )
    KRAZY KAT SPORTSWEAR LLC,                          )    Case No. 24-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS1

                                                                                       Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                        Equity Held
                                                 1119 Colorado Avenue
         Careismatic Group II Inc.                                                         100%
                                                Santa Monica, CA 90401




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
Case 24-10560-VFP           Doc 1     Filed 01/22/24 Entered 01/22/24 21:37:13                 Desc Main
                                      Document     Page 7 of 26


                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 KRAZY KAT SPORTSWEAR LLC,                            )      Case No. 24-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                               Approximate Percentage of Shares Held
          Careismatic Group II Inc.                                       100%
           Case 24-10560-VFP                Doc 1       Filed 01/22/24 Entered 01/22/24 21:37:13                           Desc Main
                                                        Document     Page 8 of 26

Fill in this information to identify the case:

Debtor name: Careismatic Brands, LLC, et al.
United States Bankruptcy Court for the: District of New Jersey
Case number (if known): 24-_____

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders, on a Consolidated Basis                                                                                  12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and            Name, telephone number, and       Nature of the     Indicate if Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim             claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,     contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,      unliqui-    total claim amount and deduction for value of
                                                                      bank loans,       dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional      disputed
                                                                      services, and                 Total claim,       Deduction for Unsecured
                                                                      government                    if partially       value of            claim
                                                                      contracts)                    secured            collateral or
                                                                                                                       setoff

1   Michelman & Robinson LLP        Eri Burns                         Professional        ¨C                                             $10,094,654.89
    Attn: Accounts Receivable       Tel: 818-783-5530                 Services
    10880 Wilshire Blvd, 19th FL    eburns@mrllp.com                                      ¨U
    Los Angeles CA 90024-4101
                                                                                          ¨D
2   Skadden, Arps, Slate, Meagher   Mike Benham                       Professional        ¨C                                             $6,336,223.28
    & Flom LLP                      Tel: 650-470-4964                 Services
    PO Box 1764                     mike.benham@skadden.com                               ¨U
    White Plains NY 10602
                                                                                          ¨D
3   Leopard Textiles Holding Ltd    Zhenjiang "Steven" Wu             Trade Payables      ¨C                                             $2,247,451.43
    Leopard Textiles                Tel: 86-186-0161-2518
    Room A, 19F                     Steven@LeopardTex.com                                 ¨U
    Kim Chung Commercial
    Building
                                                                                          ¨D
    Hong Kong
    CHINA

4   Ducthanh Garment Import         MongHanh                          Trade Payables      ¨C                                             $726,214.86
    Export Co Ltd                   ketoanducthanhag@hcm.vnn.vn
    TI - Ducthanh Import Export                                                           ¨U
    Co, Ltd
    18 Tran Hung Dao
                                                                                          ¨D
    My Thoi Ward
    Long Xuyen City AG
    VIETNAM

5   Saddle Creek Corporation        Julie Freeze                      Trade Payables      ¨C                                             $530,250.75
    PO Box 530614                   Tel: 863-668-4469
    Atlanta GA 30353-0614           AR@sclogistics.com                                    ¨U
                                                                                          ¨D




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                            Page 1
            Case 24-10560-VFP                Doc 1        Filed 01/22/24 Entered 01/22/24 21:37:13                           Desc Main
                                                          Document     Page 9 of 26
Debtor    Careismatic Brands, LLC, et al.                                                                         Case number (if known) 24-_____

    Name of creditor and            Name, telephone number, and       Nature of the       Indicate if Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim               claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,       contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,        unliqui-    total claim amount and deduction for value of
                                                                      bank loans,         dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional        disputed
                                                                      services, and                   Total claim,       Deduction for Unsecured
                                                                      government                      if partially       value of            claim
                                                                      contracts)                      secured            collateral or
                                                                                                                         setoff

6   Neelkamal Traders FZCO          Vittal Radhakrishnan
                                    vittal.radhakrishnan@neelkamal.com
                                                                         Trade Payables     ¨C                                             $269,074.35
    S-60604, Jebel Ali Freezone
    PO Box 262890                                                                           ¨U
    Dubai
    UNITED ARAB EMIRATES
                                                                                            ¨D
7   Royal Apparel EPZ Limited       Sunil Bojan                          Trade Payables     ¨C                                             $247,931.35
    Unit 1 @ Capital Industrial     sunilbojan@royalapparelepz.com
    Park                                                                                    ¨U
    Athi River Town
    Nairobi, Central 00606
                                                                                            ¨D
    KENYA

8   Comtrading Apparel DMCC         Miss Thao Le                         Trade Payables     ¨C                                             $184,695.10
    Jumeirah Lakes Towers Unit      Tel: 848-2-442-1178
    302-08                          Thao.Le@comtextile.com.vn                               ¨U
    Jumeirah Bay 2, Plot JLT-PH2-
    X2A
                                                                                            ¨D
    Dubai
    UNITED ARAB EMIRATES

9   Tay Son Garment Joint Stock     Miss Thao Le                         Trade Payables     ¨C                                             $182,655.06
    Company                         Tel: 84-824-21178
    Phu Xuan Ward                   Thao.Le@comtextile.com.vn                               ¨U
    Phu Phong Town
    Tay Son District, Binh Dihn
                                                                                            ¨D
    VIETNAM

10 M.E.S. (UK) Limited              Aydin Ozguven                        Trade Payables     ¨C                                             $146,646.78
   KR - M.E.S. UK Limited           aydino@sesby.com
   Hallswelle House                                                                         ¨U
   1 Hallswelle Road
   London NW11 0DH
                                                                                            ¨D
   UNITED KINGDOM

11 Cordial Experience, Inc          Tel: 619-578-4360                    Trade Payables     ¨C                                             $109,455.00
   402 W Broadway                   billing@cordial.com
   Ste 700                                                                                  ¨U
   San Diego CA 92101
                                                                                            ¨D
12 Huafang Company Ltd              Wang Chao                            Trade Payables     ¨C                                             $104,942.34
   Huafang Company Limited by       Tel: 86-543-3288-286
   Shares                           wchao2128@163.com                                       ¨U
   No 819 Huanghe 2 Road
   Binzhou, Shandong
                                                                                            ¨D
   CHINA

13 TianJin HaoCheng Int Logistics   yxshpg@eyou.com                      Trade Payables     ¨C                                             $104,773.79
   Co, Ltd
   No 65 ZiJinShan Road                                                                     ¨U
   Room 2-1302 No.2. ZiGuiYuan
   Hexi District, Tianjin 300061
                                                                                            ¨D
   CHINA




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                              Page 2
            Case 24-10560-VFP                 Doc 1      Filed 01/22/24 Entered 01/22/24 21:37:13                           Desc Main
                                                        Document      Page 10 of 26
Debtor    Careismatic Brands, LLC, et al.                                                                        Case number (if known) 24-_____

    Name of creditor and              Name, telephone number, and       Nature of the    Indicate if Amount of unsecured claim
    complete mailing address,         email address of creditor contact claim            claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                  (for example,    contingent, claim amount. If claim is partially secured, fill in
                                                                        trade debts,     unliqui-    total claim amount and deduction for value of
                                                                        bank loans,      dated, or collateral or setoff to calculate unsecured claim.
                                                                        professional     disputed
                                                                        services, and                Total claim,       Deduction for Unsecured
                                                                        government                   if partially       value of            claim
                                                                        contracts)                   secured            collateral or
                                                                                                                        setoff

14 Moody's Investors Service          Donna Hamrah                      Trade Payables     ¨C                                             $96,500.00
   PO Box 102597                      Tel: 212-553-0590
   Atlanta GA 30368-0597              Donna.Hamrah@moodys.com                              ¨U
                                                                                           ¨D
15 American Express                   Shad Aldrich                      Trade Payables     ¨C                                             $90,857.72
   Travel Related Services Co Inc     Tel: 510-564-4265
   PO Box 360001                      shad.g.aldrich@aexp.com                              ¨U
   Fort Lauderdale FL 33336-
   0001
                                                                                           ¨D
16 Red Banks Consulting Inc.          Casey Carr                        Trade Payables     ¨C                                             $79,087.50
   1079 Cragmont Ave                  Tel: 415-613-9783
   Berkeley CA 94708                  ccarr@redbanksconsulting.com                         ¨U
                                                                                           ¨D
17 Gloria Apparel Inc                 Sowon Yoon                        Trade Payables     ¨C                                             $74,019.85
   500 7th Ave 8th Fl Ste 124         Tel: 212-947-0869
   New York NY 10018                  sowon@gloriaapparel.com                              ¨U
                                                                                           ¨D
18 Thanh Truc Garment Imp/Exp    Tom Nguyen                             Trade Payables     ¨C                                             $70,369.59
   Co, Ltd                       tomtt@hcm.vnn.vn
   DT - Thanh Truc Garment                                                                 ¨U
   Imp/Exp Co, Ltd
   No 61 A Nguyen Thi Bay Street
                                                                                           ¨D
   Ward 6
   Tan An, Long An
   VIETNAM

19 Barco Uniforms Inc                 Jane Fowler                       Trade Payables     ¨C                                             $70,191.25
   Attn: Jane Fowler                  Tel: 310-719-2138
   350 West Rosecrans Ave             jane.fowler@barcouniforms.com                        ¨U
   Gardena CA 90248
                                                                                           ¨D
20 The Sourcing Place Ltd             George Zhang                      Trade Payables     ¨C                                             $67,257.44
   Unit D-E, 31st Floor, Ford         Tel: 852-2370-8865
   Glory Plaza                        george@suntexind.com                                 ¨U
   37-39 Wing Hong Street,
   Kowlong
                                                                                           ¨D
   Hong Kong
   HONG KONG

21 Insight Direct USA, Inc            TIM KILIAN                        Trade Payables     ¨C                                             $56,175.42
   2701 E Insight Way                 Tel: 602-705-7933
   Chandler AZ 85286                  Tim.Kilian@Insight.com                               ¨U
                                                                                           ¨D
22 Vitality Staffing Solutions, LLC   Melissa Baez                      Professional       ¨C                                             $55,747.23
   PO Box 823461                      Tel: 201-325-0900                 Services
   Philadephia PA 19182               mbaez@vitalitystaffing.com                           ¨U
                                                                                           ¨D




Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                          Page 3
            Case 24-10560-VFP               Doc 1        Filed 01/22/24 Entered 01/22/24 21:37:13                         Desc Main
                                                        Document      Page 11 of 26
Debtor    Careismatic Brands, LLC, et al.                                                                      Case number (if known) 24-_____

    Name of creditor and            Name, telephone number, and       Nature of the    Indicate if Amount of unsecured claim
    complete mailing address,       email address of creditor contact claim            claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                                (for example,    contingent, claim amount. If claim is partially secured, fill in
                                                                      trade debts,     unliqui-    total claim amount and deduction for value of
                                                                      bank loans,      dated, or collateral or setoff to calculate unsecured claim.
                                                                      professional     disputed
                                                                      services, and                Total claim,       Deduction for Unsecured
                                                                      government                   if partially       value of            claim
                                                                      contracts)                   secured            collateral or
                                                                                                                      setoff

23 Logility Inc                     Bill Whalen                       Trade Payables     ¨C                                             $51,975.00
   470 E Paces Ferry Rd             Tel: 404-364-7614
   Atlanta GA 30305                 bwhalen@logility.com                                 ¨U
                                                                                         ¨D
24 Oracle America, Inc (Netsuite)   Collections                       Trade Payables     ¨C                                             $51,687.80
   2300 Oracle Way                  Tel: 877-638-7848
   Austin TX 78741                  CollectionsTeam_US@Oracle.com                        ¨U
                                                                                         ¨D
25 Herbert Mines Associates Inc.    Daniel Herszaft                   Trade Payables     ¨C                                             $46,200.00
   600 Lexington Ave                Tel: 212-355-0909
   14th Floor                       daniel@herbertmines.com                              ¨U
   New York NY 10022
                                                                                         ¨D
26 Hyosung TNC Corporation      Chris                                 Trade Payables     ¨C                                             $45,105.38
   YF - Hyosung TNC Corporation Tel: 82-2-707-7222
   119 Mapodaero                chris@hyosung.com                                        ¨U
   Mapo-Gu
   Seoul 4144
                                                                                         ¨D
   KOREA

27 Hirsch Solutions, Inc            Cheryl Robbins                    Trade Payables     ¨C                                             $44,910.90
   490 Wheeler Rd, Ste 285          Tel: 631-457-8818
   Hauppauge NY 11788               CHERYL@HSI.US                                        ¨U
                                                                                         ¨D
28 Jefftex Mfg Co, Ltd.             Q.U Kwon                          Trade Payables     ¨C                                             $41,507.70
   RM # 503 Samhwa B/D              Tel: 82-2-501-7205
   999-2 Daechi-Dong                jeffkwon@jefftex.com                                 ¨U
   Kangnam-Gu, Seoul 135502
   KOREA
                                                                                         ¨D
29 Haiti Premier Apparel S.A.       Marie Florence Baker              Trade Payables     ¨C                                             $39,571.85
   No 18 Rue Jean Gilles            Tel: 509-370-10297
   Route de L'Aeroport              mfbaker@pbapparel.com                                ¨U
   Port-au-Prince
   HAITI
                                                                                         ¨D
30 Ball Up, LLC                     Robert                            Litigation         þC                                             Undetermined
   Hueston Hennigan LLP             Klieger
   523 West 6th St., Suite 400      Tel: 213-788-4310                                    þU
   Los Angeles CA 90014             rklieger@hueston.com
                                                                                         þD




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                           Page 4
     Case 24-10560-VFP                     Doc 1        Filed 01/22/24 Entered 01/22/24 21:37:13                                Desc Main
                                                       Document      Page 12 of 26


    Fill in this information to identify the case and this filing:

   Debtor Name          Krazy Kat Sportswear LLC

   United States Bankruptcy Court for the:                District of New Jersey
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement.
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        01/22/2024                                  /s/ Kent Percy
                                        MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                   Kent Percy
                                                                                   Printed name
                                                                                   Chief Restructuring Officer
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 24-10560-VFP         Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13              Desc Main
                                  Document      Page 13 of 26



                     OMNIBUS WRITTEN CONSENT OF
         THE BOARD OF DIRECTORS OR MANAGERS, AS APPLICABLE, OF
                   EACH OF THE COMPANIES SET FORTH
                    ON SCHEDULE 1 ATTACHED HERETO

                                         January 21, 2024

        The undersigned, being all of the directors or managers (each, a “Governing Body” and
collectively, the “Governing Bodies”), of each entity set forth on Schedule 1 attached hereto (each,
a “Company” and collectively, the “Companies”), in such capacity, do hereby adopt the resolutions
hereinafter set forth as the action of each such Governing Body in accordance with such
Company’s bylaws, limited liability company agreement, or other governing documentation (the
“Organizational Documents”), as applicable, and Delaware, California, New Jersey, or Texas law,
as applicable.

        WHEREAS, the Governing Body of each Company has duly considered certain materials
presented by, or on behalf of, such Company’s management (“Management”) and financial and
legal advisors (collectively, the “Advisors”), including, but not limited to, materials regarding each
Company’s liabilities, obligations, and liquidity of such Company, the strategic and financial
alternatives available to such Company; and the impact of the foregoing on such Company’s
business and operations;

       WHEREAS, the Governing Body of each Company has reviewed and considered
presentations by Management and the Advisors regarding that certain restructuring support
agreement (as may be amended, supplemented, or modified from time to time, the “Restructuring
Support Agreement”) and the advantages and disadvantages to each Company of the transactions
contemplated thereunder;

       WHEREAS, the Restructuring Support Agreement contemplates that each Company will,
among other things, file a voluntary petition for relief (the “Bankruptcy Petition”) under the
provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (as amended,
the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of New Jersey
(the “Bankruptcy Court”) or other court of competent jurisdiction;

       WHEREAS, the Governing Body of each Company has reviewed and considered
presentations by Management and the Advisors regarding the advantages and disadvantages of the
debtor-in-possession financing facility contemplated in the Restructuring Support Agreement;

        WHEREAS, the Governing Body of each Company has had adequate opportunity to
consult with Management and the Advisors regarding the materials presented, to obtain additional
information, and to fully consider each of the strategic and financial alternatives available to such
Company; and

       WHEREAS, the Governing Body of each Company has determined, in their business
judgment, that the adoption of the following resolutions is advisable and in the best interests of
each Company and its respective stakeholders and other parties in interest.
Case 24-10560-VFP         Doc 1     Filed 01/22/24 Entered 01/22/24 21:37:13              Desc Main
                                   Document      Page 14 of 26



             VOLUNTARY PETITION FOR RELIEF UNDER APPLICABLE
              BANKRUPTCY LAW AND SEEKING NECESSARY RELIEF

         NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of the
Governing Body of each Company, it is desirable and in the best interests of each Company, its
interest holders, its creditors, and other parties in interest, that each Company shall be, and hereby
is, in all respects authorized to file, or cause to be filed, the Bankruptcy Petition in the Bankruptcy
Court, for such Company and, in accordance with the requirements of such Company’s governing
documents and applicable law, hereby consents to, authorizes, and approves, the filing of the
Bankruptcy Petitions; and

        FURTHER RESOLVED, that any director, manager, or other duly appointed officer of
each Company (each, an “Authorized Person,” and collectively, the “Authorized Persons”), acting
alone or with one or more other Authorized Persons be, and hereby is, authorized, empowered,
and directed to execute and file on behalf of each Company all petitions, schedules, lists, and other
motions, papers, or documents (including the filing of financing statements), and to take any and
all action that they deem necessary, appropriate, or desirable to obtain such relief, including,
without limitation, any action necessary, appropriate, or desirable to maintain the ordinary course
operations of each Company’s business.

                              RETENTION OF PROFESSIONALS

        RESOLVED, that each of the Authorized Persons of each Company, each acting
individually and with full power of substitution be, and hereby is, authorized, empowered, and
directed to employ the following professionals on behalf of such Company: (i) the law firm of
Kirkland & Ellis LLP and Kirkland & Ellis International LLP, as general bankruptcy counsel;
(ii) Cole Schotz P.C., as local bankruptcy counsel; (iii) AP Services, LLC, as financial advisor;
(iv) PJT Partners LP, as investment banker; (v) Donlin, Recano & Company, Inc., as claims,
noticing, and solicitation agent and administrative advisor; (vi) Kobre & Kim LLP, as counsel to
the transaction committee of CBI Parent, L.P.; (vii) McDonald Hopkins LLC, as counsel to the
transaction committee of CBI Intermediate, Inc.; and (viii) any other legal counsel, accountants,
financial advisors, restructuring advisors, or other professionals such Authorized Person deems
necessary, appropriate, or advisable; each to represent and assist such Company in carrying out its
duties and responsibilities and exercising its rights under the Bankruptcy Code and any applicable
law (including, but not limited to, the law firms filing any pleadings or responses) and to take any
and all actions to advance the rights and obligations of such Company, including filing any
motions, objections, replies, applications, or pleadings; and in connection therewith, each of the
Authorized Persons be, and hereby is, authorized, empowered, and directed, in accordance with
the terms and conditions hereof, to execute (under the company or common seal of such Company,
if appropriate) appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain such professionals.




                                                  2
Case 24-10560-VFP         Doc 1     Filed 01/22/24 Entered 01/22/24 21:37:13              Desc Main
                                   Document      Page 15 of 26



                     CASH COLLATERAL, DEBTOR-IN-POSSESSION
                      FINANCING, AND ADEQUATE PROTECTION

        RESOLVED, that each Company will obtain benefits, which are necessary and convenient
to the conduct, promotion, and attainment of the business of such Company, from (a) the use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy
Code (the “Cash Collateral”), which is security for certain prepetition secured lenders, and (b) the
incurrence of debtor-in-possession financing obligations by entering into that certain senior
secured superpriority delayed draw term loan debtor-in-possession credit agreement (the “DIP
Credit Agreement” and such financing obligations, the “DIP Financing”);

       FURTHER RESOLVED, that in order to use and obtain the benefits of the DIP Financing
and Cash Collateral, in accordance with section 363 of the Bankruptcy Code, each Company will
provide certain adequate protection to the secured parties (the “Adequate Protection Obligations”),
as documented in a proposed order in interim and final form (the “DIP Orders”) to be submitted
for approval to the Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Credit
Agreement be, and hereby are, in all respects approved, and each Company is authorized to enter
into the DIP Credit Agreement subject to approval by the Bankruptcy Court;

         FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
each Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are, authorized, adopted, and approved, and each of the Authorized Persons of each
Company be, and hereby is, authorized, directed, and empowered, in the name of and on behalf of
such Company, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause each Company’s performance of its obligations under the DIP
Credit Agreement and the DIP Orders, and such other agreements, certificates, instruments, fee
letters, guaranties, notices, receipts, recordings, filings, petitions, motions, or any other papers or
documents to which such Company is or will be a party, including, but not limited to, any security
and pledge agreement or guaranty agreement (collectively, with the DIP Orders and the DIP Credit
Agreement, the “DIP Documents”), incur and pay or cause to be paid all fees and expenses and
engage such persons, in each case, in the form or substantially in the form thereof submitted to the
Governing Body of each Company, with such changes, additions, and modifications thereto as the
Authorized Persons of each Company executing the same shall approve, such approval to be
conclusively evidenced by such Authorized Persons’ execution and delivery thereof;

        FURTHER RESOLVED, that each Company, as debtor and debtor in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations
and to undertake any and all related transactions on substantially the same terms as contemplated
under the DIP Documents (collectively, the “DIP Transactions”), including the guaranty of the
obligations thereunder and the granting of liens on substantially all of its assets to secure such
obligations;




                                                  3
Case 24-10560-VFP         Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13              Desc Main
                                  Document      Page 16 of 26



        FURTHER RESOLVED, that the Authorized Persons of each Company be, and they
hereby are, authorized and directed, and each of them acting alone hereby is, authorized, directed,
and empowered in the name of, and on behalf of, such Company, as debtor and debtor in
possession, to take such actions as in their discretion is determined to be necessary, desirable, or
appropriate to effectuate the DIP Transactions, including delivery of: (a) the DIP Documents
(including, without limitation, any amendments to any DIP Documents); and (b) such other
agreements, instruments, certificates, notices, assignments, and documents as may be reasonably
requested by the agent under the DIP Financing (the “DIP Agent”) (clauses (a) and (b) of this
paragraph, collectively, the “DIP Financing Documents”);

         FURTHER RESOLVED, that each of the Authorized Persons of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, such Company
to file or to authorize the DIP Agent to file any Uniform Commercial Code (the “UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation, and any
necessary assignments for security or other documents in the name of such Company that the
DIP Agent deems necessary or appropriate to perfect any lien or security interest granted under
the DIP Orders, including any such UCC financing statement containing a generic description of
collateral, such as “all assets,” “all property now or hereafter acquired,” and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording of,
such mortgages and deeds of trust in respect of real property of such Company and such other
filings in respect of intellectual and other property of such Company, in each case as the DIP Agent
may reasonably request to perfect the security interests of the DIP Agent under the DIP Orders;
and

        FURTHER RESOLVED, that each of the Authorized Persons of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, such Company
to take all such further actions, including, without limitation, to pay or approve the payment of all
fees and expenses payable in connection with the DIP Transactions and all fees and expenses
incurred by or on behalf of such Company in connection with the foregoing resolutions, in
accordance with the terms of the DIP Financing Documents, which shall in their sole judgment be
necessary, proper, or advisable to perform such Company’s obligations under or in connection
with the DIP Orders or any of the other DIP Financing Documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions.

                     THE RESTRUCTURING SUPPORT AGREEMENT

        RESOLVED, that the Governing Body of each Company has determined in its business
judgment that it is desirable and in the best interests of such Company, its creditors, and other
stakeholders to enter into the Restructuring Support Agreement and that such Company’s performance
of its obligations under the Restructuring Support Agreement be and hereby is, in all respects,
authorized and approved; and

       FURTHER RESOLVED, that the Authorized Persons of each Company be, and each
hereby is, authorized to take all actions (including, without limitation, to negotiate and execute any
agreements, documents, or certificates) necessary to enter into the Restructuring Support
Agreement and to consummate the transactions contemplated thereby in connection with the



                                                  4
Case 24-10560-VFP         Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13              Desc Main
                                  Document      Page 17 of 26



Bankruptcy Petitions, and that such Company’s performance of its obligations under the
Restructuring Support Agreement hereby is, in all respects, authorized and approved.

                        FURTHER ACTIONS AND PRIOR ACTIONS

        RESOLVED, that in addition to the specific authorizations conferred upon the Authorized
Persons of each Company in these resolutions, each of the Authorized Persons (and their designees
and delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of each
Company, to take or cause to be taken any and all such other and further action, including but not
limited to, the negotiation, finalization, execution, acknowledgement, delivery, and filing of any
and all agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds and
other documents and to pay all expenses, including but not limited to filing fees, in each case as in
such Authorized Person’s or Authorized Persons’ judgment, shall be determined necessary,
appropriate, or desirable in order to fully carry out the intent and accomplish the purposes of these
resolutions, such determination to be conclusively evidenced by such Authorized Person or
Authorized Persons taking such action or execution thereof;

        FURTHER RESOLVED, that the Governing Body of each Company has received
sufficient notice of the actions and transactions relating to the matters contemplated by these
resolutions, as may be required by the organizational documents of such Company, or hereby
waives any right to have received such notice; and

         FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by these resolutions done in the name of and on behalf of each Company, which acts
would have been approved by these resolutions except that such acts were taken before the
adoption of these resolutions, are by these resolutions, in all respects approved, confirmed, and
ratified as the true acts and deeds of each Company with the same force and effect as if each such
act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
of the Governing Body of each Company.

       The actions taken by this written consent shall have the same force and effect as if taken at
a meeting of the Governing Bodies of each Company, duly called and constituted, pursuant to such
Company’s governing document and the laws of the state of incorporation/formation of such
Company.

        This written consent may be executed in any number of counterparts, each of which when
so executed and delivered shall be deemed an original, and such counterparts shall together
constitute one instrument.

                                              *****




                                                  5
Case 24-10560-VFP      Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13        Desc Main
                               Document      Page 18 of 26



        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.


                                            CBI PARENT, L.P.



                                            Thomas Clark



                                            Steve Davis



                                            Preston Grasty



                                            Fredrik Henzler



                                            Sidharth Lakhani



                                            Eric Lehman



                                            Michael Penner



                                            Harvey Tepner




                           [Signature Page to Omnibus Written Consent]
Case 24-10560-VFP      Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13        Desc Main
                               Document      Page 19 of 26



        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.



                                            CBI INTERMEDIATE, INC.



                                            Thomas Clark



                                            Steve Davis



                                            Preston Grasty



                                            Fredrik Henzler



                                            Sidharth Lakhani



                                            Eric Lehman



                                            Roger Meltzer



                                            Michael Penner




                           [Signature Page to Omnibus Written Consent]
Case 24-10560-VFP      Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13        Desc Main
                               Document      Page 20 of 26



        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.



                                            NEW TROJAN PARENT, INC.



                                            Thomas Clark



                                            Preston Grasty



                                            Fredrik Henzler



                                            Sidharth Lakhani




                           [Signature Page to Omnibus Written Consent]
Case 24-10560-VFP        Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13          Desc Main
                                 Document      Page 21 of 26



        IN WITNESS WHEREOF, the undersigned, constituting the authorized signatories of each
of the below entities, do hereby consent to the foregoing resolutions as of the date first above
written.



                                        TROJAN HOLDCO, INC.
                                        TROJAN BUYER, INC.
                                        STRATEGIC PARTNERS ACQUISITION CORP.
                                        STRATEGIC PARTNERS CORP.
                                        CBI MIDCO, INC.
                                        CAREISMATIC GROUP INC.
                                        CAREISMATIC GROUP II INC.



                                        Thomas Clark



                                        Fredrik Henzler



                                        Sidharth Lakhani




                            [Signature Page to Omnibus Written Consent]
Case 24-10560-VFP      Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13        Desc Main
                               Document      Page 22 of 26



        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.

                                            CAREISMATIC BRANDS, LLC
                                            KRAZY KAT SPORTSWEAR LLC

                                            By:     Careismatic Group II Inc.
                                            Its:    Sole Member



                                            Thomas Clark



                                            Fredrik Henzler



                                            Sidharth Lakhani




                           [Signature Page to Omnibus Written Consent]
Case 24-10560-VFP      Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13        Desc Main
                               Document      Page 23 of 26



        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.

                                            STRATEGIC PARTNERS MIDCO, LLC

                                            By:     Strategic Partners Corp.
                                            Its:    Sole Member




                                            Thomas Clark



                                            Fredrik Henzler



                                            Sidharth Lakhani




                           [Signature Page to Omnibus Written Consent]
Case 24-10560-VFP      Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13        Desc Main
                               Document      Page 24 of 26




        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.

                                            ALLHEARTS, LLC
                                            CAREISMATIC, LLC
                                            MARKETPLACE IMPACT, LLC
                                            MEDELITA, LLC
                                            PACOIMA LIMITED, LLC
                                            SILVERTS ADAPTIVE, LLC
                                            STRATEGIC GENERAL PARTNERS, LLC
                                            MED COUTURE, LLC

                                            By:     Careismatic Brands, LLC
                                            Its:    Sole Member



                                            Sean Bogue
                                            Chief Financial Officer



                                            Sidharth Lakhani
                                            Chief Executive Officer




                           [Signature Page to Omnibus Written Consent]
Case 24-10560-VFP      Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13              Desc Main
                               Document      Page 25 of 26



        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
written above.
                                     STRATEGIC DISTRIBUTION, L.P.

                                            By:     Strategic General Partners, LLC
                                            Its:    Sole Member




                                            Sean Bogue
                                            Chief Financial Officer



                                            Sidharth Lakhani
                                            Chief Executive Officer




                           [Signature Page to Omnibus Written Consent]
Case 24-10560-VFP   Doc 1    Filed 01/22/24 Entered 01/22/24 21:37:13   Desc Main
                            Document      Page 26 of 26



                                      Schedule 1

          No.   Name of the Company                    Jurisdiction

          1     AllHearts, LLC                           Delaware
          2     Careismatic Brands, LLC                 California
          3     Careismatic Group Inc.                   Delaware
          4     Careismatic Group II Inc.                Delaware
          5     Careismatic, LLC                        California
          6     CBI Intermediate, Inc.                   Delaware
          7     CBI Midco, Inc.                          Delaware
          8     CBI Parent, L.P.                         Delaware
          9     Krazy Kat Sportswear LLC                New Jersey
          10    Marketplace Impact, LLC                  Delaware
          11    Med Couture, LLC                          Texas
          12    Medelita, LLC                           California
          13    New Trojan Parent, Inc.                  Delaware
          14    Pacoima Limited, LLC                    California
          15    Silverts Adaptive, LLC                  California
          16    Strategic Distribution, L.P.              Texas
          17    Strategic General Partners, LLC         California
          18    Strategic Partners Acquisition Corp.     Delaware
          19    Strategic Partners Corp.                 Delaware
          20    Strategic Partners Midco, LLC            Delaware
          21    Trojan Buyer, Inc.                       Delaware
          22    Trojan Holdco, Inc.                      Delaware




                                       Schedule I
